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                                 EXHIBIT A
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                             )       Chapter 11
    In re:                                                   )
                                                             )       Case No. 20-12836 (JTD)
    CRED INC., et al.,                                       )
                                                             )       (Jointly Administered)
                                                  1
                                       Debtors.              )
                                                             )

    ORDER GRANTING EMERGENCY MOTION OF THE OFFICIAL COMMITTEE OF
    UNSECURED CREDITORS FOR AN ORDER (I) HOLDING JAMES ALEXANDER IN
        CONTEMPT OF COURT AND (II) ISSUING A BENCH WARRANT FOR
            THE ARREST AND DETENTION OF JAMES ALEXANDER

             Upon the motion (the “Motion”),2 of the Official Committee of Unsecured Creditors (the

“Committee”) of Cred Inc., et al. (the “Debtors”), for entry of an order (i) finding James

Alexander in contempt for violating the Order Approving the Emergency Motion of the Official

Committee of Unsecured Creditors for Entry of an Order Granting (I) Temporary Restraining

Order and Preliminary Injunction Against James Alexander and (II) Related Relief [Docket No.

486] (the “Emergency Order”); and (ii) issuing a an appropriate remedy to compel Alexander to

comply with the Emergency Order, including issuing a bench warrant for Alexander’s arrest and

detention until he complies, pursuant to Bankruptcy Code section 105(a), Rule 37(b) of the

Federal Rules of Civil Procedure, as made applicable to this proceeding by Bankruptcy Rule

7037(b), Bankruptcy Rule 9020, and Rule 9013-1 of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware; and the Court

having jurisdiction to consider the Motion and the relief requested therein in accordance with 28



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      The Debtors in these chapter 11 cases, along with the last four digits of each debtor’s tax identification number,
      as applicable, are as follows: Cred Inc. (8268), Cred (US) LLC (5799), Cred Capital, Inc. (4064), Cred
      Merchant Solutions LLC (3150), and Cred (Puerto Rico) LLC (3566). The Debtors’ mailing address is 3 East
      Third Avenue, Suite 200, San Mateo, California 94401.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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U.S.C. §§ 157 and 1334(b); and venue being proper before this Court pursuant to 28 U.S.C. §§

1408 and 1409; and sufficient notice of the Motion was given to interested parties in accordance

with the Federal Rules of Bankruptcy Procedure; and the Court having reviewed the Motion and

all supporting documents thereto; and after due deliberation and sufficient cause appearing

therefor, its hereby ORDERED that:

       1.      The Motion is GRANTED.

       2.      James Alexander is in civil contempt of this Court for his noncompliance with the

Emergency Order.

       3.      The Clerk of this Court shall prepare and issue a Bench Warrant for James

Alexander’s arrest.

       4.      The United States Marshals are directed, pursuant to such Bench Warrant, to

arrest James Alexander and deliver him to federal custody in the District of Delaware.

       5.      James Alexander shall be coercively incarcerated until he complies with the

Emergency Order.

       6.      This Order shall be effective and enforceable immediately upon its entry.

       7.      This Court shall retain jurisdiction with respect to any matters, claims, rights, or

disputes arising from or related to the implementation of this Order.




                                                 2
